                IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF TENNESSEE

ANGELA STEWART,                           )   Case No. 3:20-cv-00679
                                          )
                     Plaintiff,           )   Judge: Hon. Aleta A. Trauger
                                          )
       v.                                 )   JOINT MOTION TO EXTEND
                                          )   DEADLINE TO AMEND
HEALTHCARE REVENUE                        )   PLEADINGS
RECOVERY GROUP, LLC,                      )
                                          )
                     Defendant.           )
                                          )

       Plaintiff Angela Stewart (“Plaintiff”) and Defendant Healthcare Revenue

Recovery Group, LLC (“Defendant”) (collectively, the “Parties”) respectfully

submit this motion to extend the deadline to amend the pleadings. In support, the

Parties respectfully states as follows:

       1.     On September 24, 2020, the Court entered its Case Management

Order setting forth a January 15, 2021 deadline to amend the pleadings. Doc. 16.

       2.     On November 9, 2020, Plaintiff served Defendant with her first set

of written discovery requests.

       3.     Shortly after Defendant served its objections and answers to

Plaintiff’s requests on December 14, 2020, a discovery dispute arose between the

parties.

       4.     Defendant has agreed to supplement its responses on or before

January 8, 2021.




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       5.     The parties respectfully request that the deadline to amend the

pleadings be extended by 14 days to allow the parties to conduct sufficient

discovery to ascertain whether the operative pleadings need to be amended.

       6.     Good cause exists to extend the deadline to amend the pleadings.

       7.     This request for an extension is not made for any dilatory purpose,

but rather to potentially conserve the resources of the parties, and of the Court.

       WHEREFORE, the parties respectfully request that this Court extend the

deadline to amend the pleadings to January 29, 2021.

Dated: December 22, 2020.

                                    Respectfully submitted,

                                    /s/ Amorette Rinkleib
                                    Amorette Rinkleib (pro hac vice)
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                        CERTIFICATE OF SERVICE

       I certify that on December 22, 2020, I filed the foregoing document with

the Court using CM/ECF, which will send notification of such filing to all counsel

of record.

                                  /s/ Amorette Rinkleib
                                  Amorette Rinkleib




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